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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-1830V


    MARLA KAY SOMMERFIELD,                                   Chief Special Master Corcoran

                         Petitioner,
    v.                                                       Filed: February 20, 2025

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


John Andrew Hamer, Hamer Law Office, Faribault, MN, for Petitioner.

Madylan Louise Yarc, U.S. Department of Justice, Washington, DC, for Respondent.

                                       DECISION ON DAMAGES 1

       On December 15, 2022, Petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered to her
on December 1, 2020. Pet., ECF No. 1. Petitioner further alleges that the vaccine was
received in the United States, she suffered sequela of her injury for more than six months,
and neither Petitioner nor any other party has ever received compensation in the form of
an award or settlement for her vaccine-related injury. Id. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On January 23, 2025, a Ruling on Entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. ECF No. 33. On February 19, 2025, Respondent
1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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filed a Proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $77,500.00 in pain and suffering and $3,130.36 in unreimbursable expenses.
Proffer at 2, ECF No. 35. In the Proffer, Respondent represented that Petitioner agrees
with the proffered award. See id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award the following
compensation:

       A lump sum of $80,630.36 (representing $77,500.00 for pain and suffering
and $3,130.36 for unreimbursable expenses) to be paid through an ACH deposit to
Petitioner’s counsel’s IOLTA account for prompt disbursement. This amount
represents compensation for all damages that would be available under Section 15(a).

        The Clerk of Court is directed to enter judgment in accordance with this decision. 3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


MARLA KAY SOMMERFIELD,

               Petitioner,                           No. 22-1830V
                                                     Chief Special Master Corcoran (SPU)
v.                                                   ECF

SECRETARY OF HEALTH AND
HUMAN SERVICES,

               Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION 1

      On December 15, 2022, Marla Kay Sommerfield (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to 34 (“Vaccine Act” or “Act”), alleging that she suffered a shoulder injury related to vaccine

administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza (“flu”) vaccine on December 1, 2020. Petition at 1.

      On January 22, 2025, respondent filed his Vaccine Rule 4(c) report, concluding that

petitioner suffered a SIRVA as defined by the Vaccine Injury Table, within the Table timeframe,

and with no apparent alternative cause. ECF No. 31. On January 23, 2025, Chief Special Master

Corcoran issued a Ruling on Entitlement, finding that petitioner is entitled to compensation for

her SIRVA. ECF No. 33.




1
       This Proffer does not include attorneys’ fees and costs, which the parties intend to
address after the Damages Decision is issued.
                                                1
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       I.      Items of Compensation

              A. Pain and Suffering

       Based on the evidence of record, respondent proffers that petitioner should be awarded

$77,500.00 in pain and suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

              B. Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $3,130.36. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       II.     Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below, and requests that the Chief Special Master’s damages

decision and the Court’s judgment award the following: 2 a lump sum payment of $80,630.36, to

be paid through an ACH deposit to petitioner’s counsel’s IOLTA account for prompt

disbursement to petitioner.

       III.    Summary of Recommended Payment Following Judgment

               Lump sum to be paid through an ACH deposit
               to petitioner’s IOLTA account
               for prompt disbursement to petitioner, Marla Kay Sommerfield:       $80,630.36



2
       Should petitioner die prior to the entry of judgment, respondent reserves the right to
move the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future pain and suffering, and future lost wages.
                                                2
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                                         Respectfully submitted,

                                         BRETT A. SHUMATE
                                         Acting Assistant Attorney General

                                         C. SALVATORE D’ALESSIO
                                         Director
                                         Torts Branch, Civil Division

                                         HEATHER L. PEARLMAN
                                         Deputy Director
                                         Torts Branch, Civil Division

                                         VORIS E. JOHNSON
                                         Assistant Director
                                         Torts Branch, Civil Division

                                         s/Madylan L. Yarc
                                         MADYLAN L. YARC
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DATED: February 19, 2025




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